                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-14
v.                                            )   Judge Sharp
                                              )
DEMETRIUS DUNCAN                              )
                                              )


                                         ORDER


       Pending before the Court is Defendant’s Motion to Withdraw (Docket No. 1459) to

which the Government has responded (Docket No. 1468).

       The Government’s request for a status conference is GRANTED, and a hearing on the

motion to withdraw is hereby scheduled for Thursday, May 9, 2013, at 2:30 p.m.

       IT IS SO ORDERED.




                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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